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            Exhibit A




                               1
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From:             Lewis, Patrick T.
To:               Lali Madduri; Prouty, Erika Dackin; McKnight, Katherine L.; Phil Strach; Murrill, Elizabeth; Alyssa Riggins; Freel, Angelique; Jones, Carey; Cassie Holt; Jason Torchinsky; Wale,
                  Jeffrey M.; John Branch; Mengis, Michael W.; McPhee, Shae; Tom Farr; Braden, E. Mark; Dallin Holt; john@scwllp.com; Raile, Richard
Cc:               Abha Khanna; Jacob Shelly; Jonathan Hawley; Alison (Qizhou) Ge; J. Cullens; S. Layne Lee; Andrée M. Cullens; Savitt, Adam P; Amitav Chakraborty; Jonathan Hurwitz; Leah Aden;
                  Sarah Brannon; Stuart Naifeh; Alora Thomas; Victoria Wenger; Nora Ahmed; Sara Rohani; Sophia LIn Lakin; Jared Evans; John Adcock; tracie.washington.esq@gmail.com; Megan
                  Keenan
Subject:          RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule
Date:             Friday, July 21, 2023 2:31:57 PM
Attachments:      image001.png
                  image002.png
                  image003.png


Dear Counsel,

Thanks for your email. We appreciate your effort below to address some of the concerns we raised about Plaintiffs’ proposed schedule. However, we
continue to have a foundational disagreement over Plaintiffs’ claimed right to restart the remedial phase of this case with a new plan submission, which was
inconsistent with the representations Plaintiffs made to the Court on July 12, 2023, that they would stand on their 2022 remedial plan submission. Your
schedule below is entirely designed around a new plan submission, and our schedule is entirely designed around additional evidence concerning Plaintiffs’
existing remedial plan submission.

Because of this fundamental disagreement about approach, we will not be able to consent to your proposed schedule. Procedurally, we believe the
appropriate next step is to submit our proposed schedules separately, as our differences are not of the type that lend themselves to inclusion in a joint filing.
We believe that providing the Court a “joint submission” that consists of different schedules (and explanations for the schedules) would elevate form over
substance.

Finally, we ask that Plaintiffs refrain from presenting the Court with the chart below as the summary of the parties’ differences. While I understand why you
presented the dates in that manner to us for negotiation purposes, if presented to the Court, the chart could inaccurately suggest that Defendants proposed
a schedule that included a “submission of new plans” when Defendants did not.

Please let us know if you have any further questions.

Sincerely,

pl

Patrick Lewis
Partner


Key Tower
127 Public Square | Suite 2000
Cleveland, OH 44114-1214
T +1.216.861.7096

plewis@bakerlaw.com
bakerlaw.com




From: Lali Madduri <lmadduri@elias.law>
Sent: Friday, July 21, 2023 11:33 AM
To: Prouty, Erika Dackin <eprouty@bakerlaw.com>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach
<phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Freel,
Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M. <WaleJ@ag.louisiana.gov>; John Branch
<john.branch@nelsonmullins.com>; Mengis, Michael W. <mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt <dholt@holtzmanvogel.com>; john@scwllp.com; Raile,
Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>; Alison (Qizhou) Ge
<age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée M. Cullens <acullens@lawbr.net>; Savitt, Adam P
<asavitt@paulweiss.com>; Amitav Chakraborty <achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora Thomas <athomas@aclu.org>; Victoria
Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>;
Jared Evans <jevans@naacpldf.org>; John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Counsel,

See below for an amended proposed schedule. Plaintiffs’ updated schedule incorporates changes that reflect the points Defendants raised during
yesterday’s meet and confer. We’ve also removed initial briefing in support of in opposition to plans. Plaintiffs can also represent that we intend to
submit no more than a single joint remedial plan.

                   Event                    Defendants’ Proposed Deadline                                 Plaintiffs’ Proposed Deadline                    Plaintiffs’ Amended Dates
 Deadline for the submission of any        August 4, 2023                                                August 15, 2023                                August 11, 2023
 proposed plans and supporting expert
 reports
 Deadline for parties to exchange fact and August 11, 2023                                               September 1, 2023                              August 11, 2023




                                                                                              2
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  expert witness lists
  Deadline for expert reports in response                   September 8, 2023                                    August 29, 2023                                September 5, 2023
  to any proposed plans
  Deadline for supplemental witness                                                                                                                             September 8, 2023
  disclosures
  Deadline for fact and expert depositions                  September 15, 2023                                   September 19, 2023                             September 19, 2023
  Deadline for prehearing briefs                            September 22, 2023                                   September 26, 2023                             September 26, 2023
  Deadline to exchange copies of exhibits                   September 29, 2023                                   September 26, 2023                             September 29, 2023
  and final witness list
  Remedial hearing                                          October 3 to October 5, 2023                         October 3 to October 5, 2023                   October 3 to October 5, 2023




Lali Madduri
Counsel
Elias Law Group LLP
202-968-4593


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Sent: Thursday, July 20, 2023 12:50 PM
To: Prouty, Erika Dackin <eprouty@bakerlaw.com>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach
<phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Freel,
Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M. <WaleJ@ag.louisiana.gov>; John Branch
<john.branch@nelsonmullins.com>; Mengis, Michael W. <mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt <dholt@holtzmanvogel.com>; john@scwllp.com; Raile,
Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>; Alison (Qizhou) Ge
<age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée M. Cullens <acullens@lawbr.net>; Savitt, Adam P
<asavitt@paulweiss.com>; Amitav Chakraborty <achakraborty@paulweiss.com>; Jonathan Hurwitz <jhurwitz@paulweiss.com>; Leah Aden
<laden@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Alora Thomas <athomas@aclu.org>; Victoria
Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>;
Jared Evans <jevans@naacpldf.org>; John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Counsel,

See below for Plaintiffs’ proposed schedule. Looking forward to discussing this afternoon.

                    Event                     Defendants’ Proposed Deadline                                     Plaintiffs’ Proposed Deadline
  Deadline for the submission of plaintiffs’ Friday, August 4, 2023                                            Tuesday, August 15, 2023
  proposed map, supporting memoranda,
  and expert reports
  Deadline for defendants’ responses to      Friday, September 8, 2023                                         Tuesday, August 29, 2023
  plaintiffs’ proposed map and expert




                                                                                                     3
             Case 3:22-cv-00211-SDD-SDJ                                                       Document 255-2                               07/21/23 Page 4 of 6


  reports
  Deadline for parties to exchange fact                     Friday, August 11, 2023                            Friday, September 1, 2023
  and expert witness lists
  Deadline for fact and expert depositions                  Friday, September 15, 2023                         Tuesday, September 19, 2023
  Deadline for supplemental memoranda                       Friday, September 22, 2023                         Tuesday, September 26, 2023
  in support of or in opposition to the
  proposed remedial maps
  Deadline to exchange final witness lists                  Friday, September 29, 2023                         Tuesday, September 26, 2023
  and copies of exhibits
  Remedial hearing                                          Tuesday, October 3 to Thursday,                    Tuesday, October 3 to Thursday,
                                                            October 5, 2023                                    October 5, 2023




Lali Madduri
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Sent: Wednesday, July 19, 2023 5:37 PM
To: Prouty, Erika Dackin <eprouty@bakerlaw.com>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach
<phil.strach@nelsonmullins.com>; Murrill, Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Freel,
Angelique <FreelA@ag.louisiana.gov>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
<cassie.holt@nelsonmullins.com>; Jason Torchinsky <jtorchinsky@holtzmanvogel.com>; Wale, Jeffrey M. <WaleJ@ag.louisiana.gov>; John Branch
<john.branch@nelsonmullins.com>; Mengis, Michael W. <mmengis@bakerlaw.com>; McPhee, Shae <McPheeS@ag.louisiana.gov>; Tom Farr
<tom.farr@nelsonmullins.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Dallin Holt <dholt@holtzmanvogel.com>; john@scwllp.com; Raile,
Richard <rraile@bakerlaw.com>
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<age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée M. Cullens <acullens@lawbr.net>; Savitt, Adam P
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Jared Evans <jevans@naacpldf.org>; John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: RE: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule

Thanks, Erika. We’ll send a Teams link for 4-5 tomorrow.


Lali Madduri
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Sent: Wednesday, July 19, 2023 4:02 PM
To: Lali Madduri <lmadduri@elias.law>; McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach <phil.strach@nelsonmullins.com>; Murrill,
Elizabeth <MurrillE@ag.louisiana.gov>; Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Freel, Angelique <FreelA@ag.louisiana.gov>; Lewis,
Patrick T. <plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt <cassie.holt@nelsonmullins.com>; Jason Torchinsky
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<MBraden@bakerlaw.com>; Dallin Holt <dholt@holtzmanvogel.com>; john@scwllp.com; Raile, Richard <rraile@bakerlaw.com>
Cc: Abha Khanna <akhanna@elias.law>; Jacob Shelly <jshelly@elias.law>; Jonathan Hawley <jhawley@elias.law>; Alison (Qizhou) Ge
<age@elias.law>; J. Cullens <cullens@lawbr.net>; S. Layne Lee <laynelee@lawbr.net>; Andrée M. Cullens <acullens@lawbr.net>; Savitt, Adam P
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Wenger <vwenger@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Sara Rohani <SRohani@naacpldf.org>; Sophia LIn Lakin <slakin@aclu.org>;
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                                                                                                     4
             Case 3:22-cv-00211-SDD-SDJ                              Document 255-2                    07/21/23 Page 5 of 6



Dear Counsel,

On behalf of the Defendant/Intervenors, we are available tomorrow between 3:30pm to 5pm ET tomorrow to meet and confer to discuss a proposed
pre-hearing schedule.

In preparation for that meet and confer, below is Defendant/Intervenors’ proposal for the pre-hearing schedule. To be clear, Plaintiffs’ supplemental
expert reports will not be permitted to include any new remedial plans, per Plaintiffs’ counsel’s representations to the Court during last week’s status
conference.

 Date                                       Deadline
 Friday, August 4, 2023                     Plaintiffs’ Supplemental Expert Reports Due
 Friday, August 11, 2023                    Exchange Fact & Expert Witness Lists
 Friday, September 8, 2023                  Defendants’ Supplemental Expert Reports Due
 Friday, September 15, 2023                 Deadline for Fact and Expert Depositions
 Friday, September 22, 2023                 Supplemental Memorandum in Support and Memorandum in Opposition of
                                            Proposed Remedial Plan Due
 Friday, September 29, 2023                 Exchange Final Witness Lists and Copies of Exhibits
 Tuesday, October 3 to Thursday,            Preliminary Injunction Hearing on Remedy
 October 5, 2023

Sincerely,


Erika Prouty
Associate


200 Civic Center Drive | Suite 1200
Columbus, OH 43215-4138
T +1.614.462.4710

eprouty@bakerlaw.com
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From: Lali Madduri <lmadduri@elias.law>
Sent: Tuesday, July 18, 2023 5:16 PM
To: McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Strach <phil.strach@nelsonmullins.com>; Murrill, Elizabeth
<MurrillE@ag.louisiana.gov>; Prouty, Erika Dackin <eprouty@bakerlaw.com>; Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Freel, Angelique
<FreelA@ag.louisiana.gov>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jones, Carey <JonesCar@ag.louisiana.gov>; Cassie Holt
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Jared Evans <jevans@naacpldf.org>; John Adcock <jnadcock@gmail.com>; tracie.washington.esq@gmail.com; Megan Keenan <MKeenan@aclu.org>
Subject: Robinson v. Ardoin / Galmon v. Ardoin -- Meet and Confer re Pre-Hearing Schedule


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Counsel,

I am writing on behalf of the Galmon and Robinson Plaintiffs. Per yesterday’s Court order, are defense counsel available on Thursday 7/20 between 3
and 5pm ET to meet and confer regarding a pre-hearing schedule?

Thanks,
Lali

Lali Madduri
Counsel




                                                                           5
             Case 3:22-cv-00211-SDD-SDJ                                                       Document 255-2                               07/21/23 Page 6 of 6


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